  Case 22-41449        Doc 27     Filed 03/13/23 Entered 03/13/23 12:37:42   Desc Main
                                    Document     Page 1 of 5


United States Department of Justice
Office of the United States Trustee
110 N. College Avenue, Suite 300
Tyler, Texas 75702
(903) 590-1450

                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

IN RE                              §
                                   §
Danestar LLC                       §     Case No. 22-41449
10205 Cedar Breaks Vw              §
McKinney, TX 75072                 §
COLLIN-TX                          §
Tax ID / EIN: XX-XXXXXXX           §     Chapter 11
                                   §
Debtor                             §
                                   §
     UNITED STATES TRUSTEE’S MOTION TO CONVERT OR DISMISS WITH
                    PREJUDICE PURSUANT TO 11 U.S.C. § 1112(b),
                  OR IN THE ALTERNATIVE, FOR OTHER RELIEF;
                WITH WAIVER OF 30-DAY HEARING REQUIREMENT

    PLEASE NOTE THAT THE COURT HAS SET THIS MOTION FOR HEARING:

                    HEARING: TUESDAY, APRIL 18, 2023, AT 1:30 P.M.
                                 U. S. Bankruptcy Court
                           660 N. Central Expressway, 3rd Floor
                                   Plano, Texas 75074
  Case 22-41449         Doc 27      Filed 03/13/23 Entered 03/13/23 12:37:42        Desc Main
                                      Document     Page 2 of 5



        TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE PRESIDING:

        William T. Neary, the United States Trustee for Region 6 (“U.S. Trustee”) hereby files in

the above-numbered and captioned bankruptcy case (“Case”) his Motion to Convert or Dismiss

with Prejudice Pursuant to 11 U.S.C. § 1112(b), or in the Alternative, for Other Relief

(“Motion”) and respectfully states in support thereof:

                                      Jurisdiction and Timeliness

        1.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1334, 157(a), and

the standing order of reference. This is a core proceeding pursuant to 28 U.S.C. § 157. The

predicate for the relief requested herein is Bankruptcy Code section 1112(b).

                                  Background and Requested Relief

        2.      The Debtor filed the Case on October 28, 2022 (“Petition Date”), and elected

treatment under subchapter V of chapter 11.

        3.      The Debtor has not filed a monthly operating report in the Case.

        4.      The Debtor has not paid U.S. Trustee fees in the Case.

        5.      Pursuant to 11 U.S.C. § 1189(b), the Debtor was required to file a plan of

reorganization within 90 days of the Petition Date, or January 26, 2024, or obtain an extension of

the deadline from the Court. The Debtor has not filed a plan of reorganization or obtained an

extension from the Court.

        6.      Based on the Debtor’s administrative deficiencies and failure to meet required

deadlines to successfully prosecute the Case, it appears the Debtor cannot use chapter 11 for the

benefit of creditors. The U.S. Trustee also requests any dismissal to be prejudiced to re-filing

under chapter 11 for a period of 180 days for cause.




United States Trustee’s Motion to Dismiss – Page 2 of 4
  Case 22-41449         Doc 27      Filed 03/13/23 Entered 03/13/23 12:37:42                Desc Main
                                      Document     Page 3 of 5



        WHEREFORE, the U.S. Trustee respectfully requests that the Court issue an order (a)

converting the Case to chapter 7; (b) dismissing the Case with prejudice, or (c) subjecting the

Debtor to confirmation deadlines; and granting such other further appropriate relief.

Dated: March 13, 2023                                              Respectfully submitted,

                                                                   William T. Neary
                                                                   United States Trustee

                                                                   /s/ Marcus F. Salitore
                                                                   Assistant United States Trustee
                                                                   Texas Bar 24029822
                                                                   300 Plaza Tower
                                                                   110 N. College
                                                                   Tyler, Texas 75702
                                                                   (903) 590-1450 Ext. 216

                                          Certificate of Service

The undersigned hereby certifies that a copy of the foregoing document was served on the
following listed persons through the court’s electronic notification system as permitted by
Appendix 5005 to the Local Rules of the U.S. Bankruptcy Court for the Eastern District of
Texas, or by first class United States Mail, postage prepaid, no later than March 14, 2023.

                                                                   /s/ Marcus F. Salitore

DEBTOR:
Danestar LLC
10205 Cedar Breaks Vw
McKinney, TX 75072

DEBTOR’S COUNSEL:
Ivan Turingan
Curtis Law PC
901 Main Street
Suite 6515
Dallas, TX 75202

SUBCHAPTER V TRUSTEE:
Mark A. Weisbart
10501 N. CENTRAL EXPY., STE. 106
DALLAS, TEXAS 75231




United States Trustee’s Motion to Dismiss – Page 3 of 4
  Case 22-41449         Doc 27      Filed 03/13/23 Entered 03/13/23 12:37:42   Desc Main
                                      Document     Page 4 of 5



NOTICES OF APPEARANCE:
Marvin E. Sprouse III
Sprouse Law Firm
901 Mopac Expressway South
Building 1, Suite 300
Austin, TX 78746

MATRIX FOLLOWS:




United States Trustee’s Motion to Dismiss – Page 4 of 4
                  Case 22-41449           Doc 27       Filed 03/13/23         Entered 03/13/23 12:37:42              Desc Main
Label Matrix for local noticing                      Comptroller
                                                          Documentof Public Accounts
                                                                              Page 5 of 5                 Danestar LLC
0540-4                                               C/O Office of the Attorney General                   10205 Cedar Breaks Vw
Case 22-41449                                        Bankruptcy - Collections Division MC-008             McKinney, TX 75072-8968
Eastern District of Texas                            PO Box 12548
Sherman                                              Austin TX 78711-2548
Mon Mar 13 12:31:46 CDT 2023
Imperative Chemical Partners                         Imperative Chemical Partners, Inc.                   Marcus Salitore
201 W Wall St.                                       c/o Sprouse Law Firm                                 US Trustee Office
Suite 900                                            901 Mopac Expwy South                                110 N. College Ave., Room 300
Midland, TX 79701-4532                               Bldg 1, Ste 300                                      Tyler, TX 75702-7231
                                                     Austin, Texas 78746-5776

Seatex LLC (f/k/a ChemQuest Chemicals)               Marvin E. Sprouse III                                TankLogix
445 TX-36 N                                          Sprouse Law Firm                                     12200 West Highway
Rosenberg, TX 77471                                  901 Mopac Expressway South                           80 East
                                                     Building 1, Suite 300                                Odessa, TX 79765
                                                     Austin, TX 78746-5776

TankLogix                                            Ivan Turingan                                        U.S. Attorney General
12200 West Highway 80 East                           Curtis Law PC                                        Department of Justice
Odessa, TX 79765-9610                                901 Main Street                                      Main Justice Building
                                                     Suite 6515                                           10th & Constitution Ave., NW
                                                     Dallas, TX 75202-3782                                Washington, DC 20530-0001

US Trustee                                           Mark A WEISBART (SBRA V)
Office of the U.S. Trustee                           Subchapter V Trustee
110 N. College Ave.                                  10501 N Central Expy Suite 106
Suite 300                                            Dallas, TX 75231-2203
Tyler, TX 75702-7231




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Imperative Chemical Partners                      (d)Seatex LLC f/k/a ChemQuest Chemicals              End of Label Matrix
201 W Wall St, Suite 900                             445 TX-36 N                                          Mailable recipients    13
Midland, TX 79701-4532                               Rosenberg, TX 77471                                  Bypassed recipients     2
                                                                                                          Total                  15
